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;3 l “UNITED STATES DISTRICT COURT
% ' ' l EAsTERN DISTRICT 0F TENNESSEE ,, 5 mmch gm ,
' ` ' AT KNOXVILLE "' lfkéTERH D§T. T
UNITED STATES OF AMERICA ) Reference Nurnber: §§"O " ; ~§§»§
» PlaintiiT ) No. 3:17-CR-82 and all a`|ssoc E‘f§)dnu§ibers ,_,__
v. ) vARLAN/anzLEY, § § .\> §-=
) UsDJ/USMJ ~_~ §§ 9 §»_§..§
RANDALL KEITH BEANE ) ' : <-> 'U '
Defendant ) 1¥;`~§ N w
,, ___ _, N

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DECLARATION ADOPTING PRAECIPE

With bill responsibility, accountability and liability, without prejudice, nunc pro tunc
praeterea preterea, I duly declare, validate and verify with original sworn signature and seal
that I am competent to make this declaration, for all to rely upon. Iduly, declare, certify,
verify and validate as follows:

I. PRAECIPE TO ENTER DISMISSAL WITH PREJUDICE AND DECLARATION
OF DUE CAUSE, “PRAECIPE AND DECLARATION OF FACTS” of Heather Ann-
Tucci .Tarraf , with filing date '2017-09-29' and with reference of 'Doc. # 43’, restated in
entirety;

II. PRAECIPE of Heather Ann-Tucci Jarraf , with filing date '2017-10-17‘ and with
reference of 'Doc. # 54', restated in entirety;

III. NOTICE OF CORRECTION of Heather Ann-Tucci Jarraf , with Hling date
'2017-10-]8' and with reference of 'Doc. # 56', restated in entirety;

Articles I, II and III above, restated and incorporated in entirety by reference as if set forth
in full, and all said records and documents are duly declared:

A. Adopted in entirety;
B. Restated in entirety;

I duly re-certify, verify and validate with my full responsibility, accountability and liability

 

   

f /ZAM that the foregoing 1s true, accurate and complete, for all to rely upon. zL/?AW
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Certiticate of Service

I certify, that on ,2,/ December 2017 this original instrument was caused to be
delivered by personal service to alleged Clerk of Court, and duly scanned, with certified
copy out. Furthermore a scan of this original instrument was caused to be filed and
entered electronically. Notice of this filing will be sent by operation of the alleged
Court's electronic filing system to all alleged parties indicated on the electronic filing
receipt. Alleged parties may access this filing through the alleged Court's electronic
filing system.

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Certificate of Service

I certify that on December 29, 2017, this original instrument, ORIGINAL INSTRUMENT, DULY
ACCEPTED, FOR DUE CAUSE, of ORIGINAL INSTRUMENT, DECLARATION ADOPTING
PRAECIPE, Was duly issued and caused to be delivered by personal service to the alleged Clerk of
Court, Notice of` this filing is purportedly sent by operation of the alleged Court's electronic filing
system to all alleged parties indicated on the electronic filing receipt. Alleged parties purportedly may
access this filing through the alleged Court's electronic filing system. With further due notice and
certification made and given that I am not responsible, accountable, or liable for any actions, no-
actions, and inability of` the alleged Clerk of Court, her alleged deputies, and alleged office, and the
electronic filing system they access, utilize, manage, and Whether it is in a timely manner. As a result,
alternative electronic service to all alleged parties shall be made via email delivery.

 

Case 3:17-cr-00082-TAV-CCS Document 75 Filed 12/29/17 Page 3 of 3 Page|D #: 3034

